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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC., and
MERCK SHARP & DOHME LLC,

                  Plaintiffs,
                                                        Civ. No. 1:23-01615 (CKK)
       v.

XAVIER BECERRA, U.S. Secretary of Health &
Human Services, et al.

                  Defendants.


               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
                     TO GOVERN FURTHER PROCEEDINGS

       Good cause appearing, the Court hereby ORDERS:

       1.     Plaintiff Merck Sharp & Dohme LLC (MSD) is permitted to join the motion for

summary judgment filed by Plaintiff Merck & Co., Inc. (Merck).

       2.     Defendants’ combined cross-motion for summary judgment and opposition to

Plaintiffs’ motion is treated as directed to both Merck and MSD.

       3.     Defendants shall file a reply in support of their cross-motion by November 21,

2023, consistent with this Court’s June 28, 2023 scheduling order.

       4.     Defendants need not file an Answer to the Amended Complaint.


SO ORDERED.

                                            _________________________________________

                                            HONORABLE COLLEEN KOLLAR-KOTELLY
                                            UNITED STATES DISTRICT JUDGE
